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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE
WESTERN DIVISION

 

 

LARRY S. MELTON, et al.,

VS.

JOHN JEWELL, et al.,

Plaintiffs,

Defendants.

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Civ. No. 1:02-1242-T[P

 

 

ORDER GRANTING DEFENDANTS' MOTION TO COMPEL PLAINTIFFS TO RESPOND

TO DISCOVERY AND EXTENDING DISCOVERY CUTOFF DATES

 

Before the Court is Defendants' Motion to Compel Plaintiffs to

Respond to Discovery and Extending Discovery Cutoff Dates, filed

July 21, 2005 (dkt #65).

judge for determination. Local Rule 7.2(a)(2) requires that

The response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.

compel, and the time to respond has passed.

Defendants, John Jewell, individually, John Jewell Aircraft, Inc.

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The motion was referred to the magistrate

The plaintiff has not filed a response to the notion to

IT IS THEREFORE ORDERED AND ADJUDGED that the MOtiOn Of the

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and Shawn Jewell, for an order compelling discovery and extension

of discovery cutoff dates be, and the same is, hereby GRANTED and

ORDERED as follows:

l.

The Court finds that no written objections were made to
Defendants' First Set of lnterrogatories and Requests for
Production of Documents, and the time for making
objections has expired, and any objections thereto are
deemed to be waived.

Plaintiff shall respond. to Defendants' First Set of
Interrogatories within eleven (ll) days from the date of
this order, fully, in writingr under oath and in
accordance with the Federal Rules of Civil Procedure, and
the local rules of this court;

Plaintiff shall respond to Defendants’ First Set of
Requests for Production of Documents within eleven (ll)
days from the date of this order, fully, in writing, and
in accordance with the Federal Rules of Civil Procedure,
and the local rules of this court and plaintiffs shall
produce the documents sought in the Defendants' Motion
for an Order Compelling Discovery;

Plaintiff shall provide defendants with a legible and
complete copy of all log books of pilot, Melvin Brasher,
within eleven (ll) days from the date of this order;
The original audio tape recording made by the plaintiffs

on or about September 4, 2002 shall be produced in its

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original form without redaction within eleven (ll) days
from the date of this order and failure to so provide
defendants with this original tape recording will render
it inadmissible at trial for all purposes;

6. Discovery cutoff dates previously set forth in the
Scheduling Order entered in this cause by the United
States Magistrate Judge, on May 13, 2005, are extended as
follows:

(l) Completion of Document Production, Depositions
(except for expert depositions) Interrogatories and

Request for Admissions: October l, 2005

(2) Disclosure of Defendant's Rule 26 Expert
Information: October l, 2005

(3) Expert Witness Depositions: November l, 2005

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 1:02-CV-01242 Was distributed by fax, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

